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                     1                          IN THE UNITED STATES DISTRICT COURT
                     2                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                     3
                         STATE OF CALIFORNIA, by and through                 Case No. 3:18-cv-01865
                     4   Attorney General Xavier Becerra,
                     5                 Plaintiff,
                     6          v.
                     7   WILBUR L. ROSS, JR., in his official
                         capacity as Secretary of the U.S. Department
                     8   of Commerce; U.S. DEPARTMENT OF
                         COMMERCE; RON JARMIN, in his official
                     9   capacity as Acting Director of the U.S.
                         Census Bureau; U.S. Census Bureau; DOES
                  10     1-100,
                  11                   Defendants.
                  12
                         CITY OF SAN JOSE, a municipal corporation;          Case No. 5:18-cv-02279
                  13     and BLACK ALLIANCE FOR JUST
                         IMMIGRATION, a California Non-Profit
                         Corporation,                                        As modified by the Court
                  14
                                      Plaintiffs,
                  15
                               vs.
                  16
                         WILBUR L. ROSS, JR., in his official capacity
                  17     as Secretary of the U.S. Department of
                         Commerce; U.S. DEPARTMENT OF
                  18     COMMERCE; RON JARMIN, in his official
                         capacity as Acting Director of the U.S. Census
                  19     Bureau; U.S. CENSUS BUREAU,
                  20     Defendants.

                  21

                  22                         JOINT STIPULATION AND [PROPOSED] ORDER
                  23                         TO EXTEND DEADLINE FOR REPLY BRIEFING

                  24
                                Plaintiffs the City of San Jose, and Black Alliance for Just Immigration (“Plaintiffs”) and
                  25
                         Defendants Wilbur L. Ross, Jr., U.S. Department of Commerce, Ron Jarmin, and U.S. Census
                  26
                         Bureau (collectively, “Defendants,” and together with Plaintiffs, the “Parties”) have each moved
                  27
                         for summary judgment in San Jose et al. v. Ross et al. 18-cv-2279. Defendants have also moved
                  28
M ANATT , P HELPS &
  P HILLIPS , LLP                                  STIPULATION AND [PROPOSED ORDER]
  ATTORNEYS AT LAW
    LOS ANGELES                               CASES NO. 3:18-cv-2279-RS 3:18-cv-0186 and 3:18-cv-01865
                            Case
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                     1   for summary judgment in California et al. v. Ross et al., 18-cv-1865. According to the briefing
                     2   schedule, opposition memoranda are currently due on November 16 and reply memoranda are
                     3   due on November 23. Because the reply memoranda deadline falls on the Friday after the
                     4   Thanksgiving holiday, the parties have conferred and consent to extending the deadline for reply
                     5   memoranda in both cases to Tuesday, November 27, without modifying any other deadlines or
                     6   the argument date of December 7.
                     7   IT IS SO STIPULATED.
                     8

                     9   Respectfully submitted,
                  10

                  11     Dated: November 9, 2018                MANATT, PHELPS & PHILLIPS, LLP
                                                                By: s/ Andrew Case
                  12
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                  13                                            John W. McGuinness
                                                                Emil Petrossian
                  14                                            Andrew Case (pro hac vice)
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                  22                                            Facsimile: (202) 783-0857

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                                                                CITY OF SAN JOSE
                  27                                            Richard Doyle, City Attorney
                                                                Nora Frimann, Assistant City Attorney
                  28                                            Office of the City Attorney
M ANATT , P HELPS &                                                      1
  P HILLIPS , LLP                                  STIPULATION AND [PROPOSED ORDER]
  ATTORNEYS AT LAW
    LOS ANGELES                               CASES NO. 3:18-cv-2279-RS 3:18-cv-0186 and 3:18-cv-01865
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                                                            CITY OF SAN JOSE and BLACK ALLIANCE FOR
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                     6   Dated: November 9, 2018            JOSEPH H. HUNT
                                                            Assistant Attorney General
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                                                            BRETT A. SHUMATE
                     8                                      Deputy Assistant Attorney General
                     9                                      CARLOTTA P. WELLS
                                                            Assistant Branch Director
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                                                            /s/ Kate Bailey
                  11                                        KATE BAILEY
                                                            STEPHEN EHRLICH
                  12                                        CAROL FEDERIGHI
                                                            DANIEL HALAINEN
                  13                                        Trial Attorneys
                                                            United States Department of Justice
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                                                            Attorneys for Defendants
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                  18
                         Dated: November 9, 2018                  Respectfully Submitted,
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                                                                  XAVIER BECERRA
                  20                                              Attorney General of California
                                                                  MARK R. BECKINGTON
                  21                                              Supervising Deputy Attorney General
                                                                  R. MATTHEW WISE
                  22                                              Deputy Attorney General
                  23
                                                                  /s/ Gabrielle D. Boutin
                  24                                              GABRIELLE D. BOUTIN
                                                                  Deputy Attorney General
                  25                                              Attorneys for Plaintiff State of California, by and
                                                                  through Attorney General Xavier Becerra
                  26

                  27

                  28
M ANATT , P HELPS &                                                   2
  P HILLIPS , LLP                               STIPULATION AND [PROPOSED ORDER]
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                     1   Dated: November 9, 2018                  /s/ Charles L. Coleman _______
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                     6                                             Attorneys for Plaintiff County of Los Angeles

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                         Dated: November 9, 2018                  MIKE FEUER
                     8                                            City Attorney for the City of Los Angeles

                     9                                            /s/ Valerie Flores _______
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                  14     Dated: November 9, 2018                  HARVEY LEVINE
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                  20     Dated: November 9, 2018                  CHARLES PARKIN
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M ANATT , P HELPS &                                                   3
  P HILLIPS , LLP                               STIPULATION AND [PROPOSED ORDER]
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                     1   Dated: November 9, 2018                  BARBARA J. PARKER
                                                                  City Attorney for the City of Oakland
                     2
                                                                  /s/ Erin Bernstein _______
                     3                                            MARIA BEE
                                                                  Special Counsel
                     4                                            ERIN BERNSTEIN, SBN 231539
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                  10     Dated: November 9, 2018                  JOHN LUEBBERKE
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M ANATT , P HELPS &                                                   4
  P HILLIPS , LLP                               STIPULATION AND [PROPOSED ORDER]
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                     1                                      FILER’S ATTESTATION
                     2
                                Pursuant to Civil Local Rule 5-1(i)(3), regarding signatures, I hereby attest that
                     3
                         concurrence in the filing of this document has been obtained form all signatories above.
                     4
                         Dated: November 14, 2018
                     5
                                                                                      . /s/ Andrew Case      .
                     6                                                                Andrew Case
                     7

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M ANATT , P HELPS &                                                       5
  P HILLIPS , LLP                                  STIPULATION AND [PROPOSED ORDER]
  ATTORNEYS AT LAW
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                     1

                     2                                       [PROPOSED] ORDER

                     3                 Based on the Parties’ Stipulation to extend the deadline for reply memoranda and

                     4   good cause appearing:

                     5           x   The deadline for parties to file reply memoranda in further support of summary

                     6               judgment motions filed in the above-referenced matters is extended to Tuesday,

                     7               November 27, 2018. Monday, November 26, 2018.

                     8           x   No other deadlines, including the hearing date of December 7, 2018, are affected by

                     9               this order.

                  10

                  11     IT IS SO ORDERED.

                  12
                         DATED: _____________________
                                11/14/18                                     ______________________________
                  13                                                         HON. RICHARD SEEBORG
                  14                                                         United States District Court Judge

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M ANATT , P HELPS &                                                      6
  P HILLIPS , LLP                                  STIPULATION AND [PROPOSED ORDER]
  ATTORNEYS AT LAW
    LOS ANGELES                               CASES NO. 3:18-cv-2279-RS 3:18-cv-0186 and 3:18-cv-01865
